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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

                                                            Case No. 22-10584 (CTG)
    FIRST GUARANTY MORTGAGE                                 (Jointly Administered)
    CORPORATION, et al.,1
                                                            Re Docket No. 1000
                  Liquidating Debtors.




                          NOTICE OF WITHDRAWAL OF FOURTH
                      OMNIBUS OBJECTION TO MISCLASSIFIED CLAIMS
                     (SUBSTANTIVE) SOLELY AS TO CLAIM NUMBER 293

             PLEASE TAKE NOTICE that the liquidating trustee (the “Liquidating Trustee”) under the

liquidating trust created pursuant to the Amended, Modified And Restated Combined Disclosure

Statement And Chapter 11 Plan Of First Guaranty Mortgage Corporation And Debtor and the post-

effective date debtors (the “Debtors”) in the above-captioned chapter 11 cases hereby withdraw the

Fourth Omnibus Objection to Misclassified Claims (Substantive) [Docket No. 1000] (the “Objection”)

solely as it relates to claim number 293 filed by the North Carolina Office of the Commissioner of Banks.




1
  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax identification number in
the jurisdiction were: First Guaranty Mortgage Corporation (9575); and Maverick II Holdings, LLC (5621). The
location of the corporate headquarters and the service address for First Guaranty Mortgage Corporation is 13901
Midway Road, Suite 102-334, Dallas, TX 75244.


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Dated: December 11, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

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